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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                      June 11, 2020
                               IN THE UNITED STATES DISTRICT COURT
                                                                                   David J. Bradley, Clerk
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

UNITED STATES OF AMERICA,                               §
    Plaintiff,                                          §
                                                        §      CIVIL ACTION NO. 16-2849
v.                                                      §
                                                        §
JYOTI AMERICAS LLC, et al.,                             §
    Defendants.                                         §

                                                     ORDER

            By Order [Doc. # 28] entered September 22, 2017, this case was stayed and

administratively closed pending the conclusion of Defendant Jyoti Americas LLC’s

Chapter 7 Bankruptcy proceeding. Plaintiff’s counsel was directed to file written

status reports every ninety (90) days until the bankruptcy case is completed and the

case is reinstated on the Court’s active docket. No status report has been filed since

July 23, 2018. It is hereby

            ORDERED that Plaintiff’s counsel shall file a written status report by June 25,

2020.

            SIGNED at Houston, Texas, this 11th day of June, 2020.




                                                              NAN Y F. ATLAS
                                                     SENIOR UNI   STATES DISTRICT JUDGE
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